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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                            SAN ANTONIO DIVISION

ITAMIC, INC.                                §
    Plaintiff,                              §
                                            §
v.                                          §     C. A. NO: 5:21-cv-00994-OLG
                                            §
DEPOSITORS INSURANCE                        §
COMPANY                                     §
    Defendant.                              §

            ALTERNATIVE DISPUTE RESOLUTION (ADR) REPORT

       Plaintiff, ITAMIC, Inc. and Defendant, Depositors Insurance Company (Collectively

“The Parties”), pursuant to the Court’s Scheduling Order (Doc. 7) and in accordance with

Local Rule CV-88, file this Alternative Dispute Resolution Report, respectfully showing the

Court as follows:

                    INFORMATION REQUIRED BY RULE CV-88(b)

1.     Status of Settlement Negotiations:

       The Parties have conferred regarding possibility of negotiation and early resolution

of this matter.

2.     Identity of the person responsible for settlement negotiations:

       A. For Plaintiff:
          Robert W. Loree and Cassandra Pruski

       B. For Defendant Depositors Insurance Company:
          Patrick M. Kemp and Robert G. Wall

3.     Whether alternative dispute resolution is appropriate in this case:

       The Parties agree that mediation is the appropriate method of ADR for this case.

4.     Timing for alternative dispute resolution:

        The Parties believe that mediation would provide a forum to attempt meaningful
efforts to accomplish resolution of this case at the appropriate time. The parties have agreed
to mediate this case with San Antonio mediator, Don Philbin on or before September 30,
2022. The mediator’s fee will be split equally between the Parties.


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                                                Respectfully submitted,

                                                LOREE & LIPSCOMB

                                                By: /s/ Cassandra Pruski
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                                                     COUNSEL FOR PLAINTIFF

                                                -AND-

                                                SEGAL MCCAMBRIDGE SINGER &
                                                MAHONEY

                                                By: /s/ Patrick M. Kemp
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                                                     COUNSEL FOR DEFENDANT

                             CERTIFICATE OF SERVICE

      I hereby certify that Plaintiff has served a true and correct copy of the foregoing
document on May 6, 2022 via the Court’s electronic filing system, in accordance with the
Federal Rule of Civil Procedures.

                                                /s/ Cassandra Pruski
                                                Cassandra Pruski




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